
Katerina N. Arvanitakis, formerly of Whitestone, New York, who was admitted to the bar of this State in 2006, and who has been temporarily suspended from the practice of law since April 3, 2018, having tendered her consent to disbarment as an attorney at law of the State of New Jersey, and good cause appearing;
It is ORDERED that Katerina N. Arvanitakis is disbarred by consent, effective immediately; and it is further
ORDERED that respondent's name be stricken from the roll of attorneys and that she be permanently restrained and enjoined from practicing law; and it is further
ORDERED that all funds, if any, currently existing or hereinafter deposited in any New Jersey financial institution maintained *797by Katerina N. Arvanitakis pursuant to Rule 1:21-6 shall be restrained from disbursement except on application to this Court for good cause shown and shall be transferred by the financial institution to the Clerk of the Superior Court, who is directed to deposit the funds in the Superior Court Trust Fund pending further Order of this Court; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with disbarred attorneys; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual **354expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
